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                EXHIBIT 31
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Dr. Shirley N. Weber
California Secretary of State


                Business Search - Entity Detail

     The California Business Search is updated daily and reflects work processed through Thursday, March 4, 2021. Please refer to
     document Processing Times for the received dates of filings currently being processed. The data provided is not a complete or
     certified record of an entity. Not all images are available online.

     C3035398              CALIFORNIA CORPORATE AGENTS, INC.
           Registration Date:                                               02/22/2008
           Jurisdiction:                                                    CALIFORNIA
           Entity Type:                                                     DOMESTIC STOCK
           Status:                                                          ACTIVE
           Agent for Service of Process:                                    ALEX PATEL
                                                                            16830 VENTURA BLVD., SUITE 360
                                                                            ENCINO CA 91436
           Entity Address:                                                  16830 VENTURA BLVD., SUITE 360
                                                                            ENCINO CA 91436
           Entity Mailing Address:                                          16830 VENTURA BLVD., SUITE 360
                                                                            ENCINO CA 91436

              Certificate of Status


     A Statement of Information is due EVERY year beginning five months before and through the end of February.


       Document Type                                                   File Date                               PDF

       SI-COMPLETE                                                      02/03/2021


       SI-COMPLETE                                                      12/24/2018


       1505 CERTIFICATE                                                 09/06/2017


       1505 CERTIFICATE                                                 08/18/2017


       1505 CERTIFICATE                                                 11/20/2012


       1505 CERTIFICATE                                                 03/14/2008


       REGISTRATION                                                     02/22/2008



     * Indicates the information is not contained in the California Secretary of State's database.

               If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
               California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
               For information on checking or reserving a name, refer to Name Availability.
               If the image is not available online, for information on ordering a copy refer to Information Requests.

https://businesssearch.sos.ca.gov/CBS/Detail                                                                                                 1/2
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             For information on ordering certificates, status reports, certified copies of documents and copies of documents not
             currently available in the Business Search or to request a more extensive search for records, refer to Information
             Requests.
             For help with searching an entity name, refer to Search Tips.
             For descriptions of the various fields and status types, refer to Frequently Asked Questions.

        Modify Search               New Search          Back to Search Results




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